               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:11-00082
                                                 )      Judge Trauger
[4] ALFRED TRYAN COFFEY                          )
                                                 )

                                        ORDER

       It is hereby ORDERED that the sentencing in this case is RESET for Tuesday,

November 20, 2012, at 3:00 p.m.

       It is so ORDERED.

       ENTER this 27th day of August 2012.




                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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